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RANDALL GORMAN, ET AL : CIVIL ACTION ’

: ( Consolidated with
VS. NO. 06-8500 OS-4IE2)
LEXINGTON INSURANCE CO. SECTION R24. "1X"

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MOTION AND ORDER TO WITHDRAW AS COUNSEL OF RECORD

NOW INTO COURT, comes Thomas P. LeBlanc, counsel for plaintiff, who moves the court

to withdraw as counsel for plaintiff for the following reasons:
1.

On November 30, 2006, Thomas P. LeBlanc, withdrew from the law firm of Lundy & Davis,

L.L.P. andis no longer associated with that firm.
2.

Lundy & Davis, L.L.P. is continuing its representation of plaintiffs and, therefore, the
participation of Thomas P. LeBlanc as counsel in this matter is no longer necessary or appropriate.
3.

Accordingly, Thomas P. LeBlanc, respectfully requests that an order be issued allowing him
to withdraw as counsel for plaintiffs and that he be removed from the lists of the Court, counsel, and
clerk, to receive notice in this matter.

4.

WHEREFORE, Thomas P. LeBlanc, prays that an order be issued allowing him to withdraw
as counsel for plaintiffs and that he be removed from the lists of the Court, counsel, and clerk to
receive notice in this matter.

Respectfully submitted,
LOFTIN, CAIN, GABB & LEBLANC, L.L.C.
BY: s/ Thomas P. LeBlanc
THOMAS P. LEBLANC (#23832)
2901 Hodges Street
Lake Charles, LA 70601

(337) 310-4300
(337) 310-4400 [FAX]

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CERTIFICATE OF SERVICE

IHEREBY CERTIFY that a copy of the foregoing has been forwarded this date to all counsel
of record by placing same in the United States mail, postage prepaid and properly addressed.

Lake Charles, Louisiana, this 24™ day of January, 2007.

s/ Thomas P. LeBlanc
THOMAS P. LEBLANC (#23832)

